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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI


                                                    )

                                                    )
UNITED STATES OF AMERICA,                           )

Plaintiff,                                          ) No. 4:15-cr-00049 CDP/DDN

v.                                                  )

ARMIN HARCEVIC,                                     )

Defendant.                                          )



                             DEFENDANT HARCEVIC’S
                        SECOND SENTENCING MEMORANDUM


        Defendant Armin Harcevic (“Mr. Harcevic”) through counsel, respectfully submits this

Second Sentencing Memorandum in connection with his sentencing by the Court on August 9th,

2019. Mr. Harcevic previously filed a Sentencing Memorandum on [date] and the Court has

given until August 2nd , 2019 to file additional sentencing memoranda.

        On February 25, 2019, Mr. Harcevic pled guilty before this Honorable Court to one count

of Conspiracy to Provide Material Support to Terrorists, in violation of 18 USC § 2339A and one

count of Providing Material Support to Terrorists in violation of 18 USC § 2339A. Mr. Harcevic

accepts full responsibility for his actions, and through this memorandum seeks to address

significant government assertions which mischaracterize Mr. Harcevic’s conduct. In support of

this memorandum, the defendant notes that the Probation Office issued a revised Final PSR on

July 31st, 2019, which contains only one donation of $1,500 from Mr. Harcevic to Hodzic on


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September 24th, 2013. The Government’s allegations of further money ever being given to

Hodzic or Pazara are correctly excluded from the revised Final PSR’s list of “transactions that

occurred during the conspiracy” as they are unsubstantiated and do not meet the preponderance

of the evidence standard required. The defense also offers further information on the $800

transfer to Turkey that is noted in the Final PSR. Far from the individual being unknown, it is

clear that the person Mr. Harcevic transferred the $800 to is known and is known not to be any of

the people in Turkey connected to the investigation in this case. Finally, we address this court’s

recent sentencing of co-defendant Mediha Medy Salkicevic in relationship to the issue of

disparate sentences.

   I.      The Government’s assertion that Mr. Harcevic was aware of Pazara’s support for
           ISIS at the time he made his donation is unsubstantiated and mischaracterizes the
           evidence.
        Throughout the Government’s Sentencing Memorandum, a constant and unsubstantiated

connection is made between Pazara’s intent and Mr. Harcevic’s intent. While Mr. Harcevic is

charged as part of the conspiracy to provide material support to Pazara, it is important to note

that Mr. Harcevic did not have any direct communication with Pazara. In all of the conversations

and evidence the government relies upon to establish Pazara’s alleged support for ISIS, Pazara is

speaking to Hodzic or others, never to Mr. Harcevic. The Government cites to a private

Facebook conversation between Jasaveric and Pazara, in January, 2014, to show that Pazara was

not part of the Free Syrian Army (FSA). (Gov. Exhibit 1, Trans 2953). This conversation

happens four months after Mr. Harcevic’s donation to Hodzic, and more importantly, it is a

private conversation Mr. Harcevic did not have access to and could not have been aware of. The

Government also cites to a private Facebook conversation between Hodzic and Salkicevic in

August, 2013, stating that Pazara was fighting in Syria. (Gov. Exhibit 2, Trans 242). This is yet


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another private conversation Mr. Harcevic was not party to or aware of, further, this conversation

does not establish any ISIS support on Pazara’s behalf, merely that Pazara was fighting with

Bosnians and Chechens. Next, the Government cites another private communication, an email

exchange between Pazara and Ramic on August 14th, 2013. Ramic, apparently as confused as the

rest of the world at the time about the various groups and factions fighting in Syria against Al-

Assad, asked which brigade Pazara was fighting for and listed five different groups. Here, Pazara

privately tells Ramic that the groups have united into ISIS. Mr. Harcevic was not party to this

conversation and was unaware of it. The Government cites a private conversation between

Hodzic and one of Pazara’s co-conspirators, “A.S.”, where they discuss Pazara’s activities.

Again, Mr. Harcevic is not party to these private messages and was not aware of them. Finally,

the Government cites another private Facebook conversation between Hodzic and “M.K.”, a

Pazara co-conspirator. Mr. Harcevic was not a party to this private conversation and was not

aware of it. The Government provides no evidence to support their assertion that Mr. Harcevic

was aware of Pazara’s support for ISIS.

        In determining whether the terrorism enhancement applies, the burden is on the

government to show by a preponderance of the evidence that Mr. Harcevic had the “specific

intent” to commit an offense that was “calculated to influence or affect the conduct of

government by intimidation or coercion, or to retaliate against government conduct.” United

States v. Awan, 607 F.3d 306, 317 (2nd Cir. 2010) citing 18 U.S.C. 2332b(g)(5)(A); cf. United

States v. Noble, 246 F.3d 946, 953 (7th Cir. 2001), United States v. Starks, 309 F.3d 1017, 1026

(7th Cir. 2002), United States v. Johnson, 227 F.3d 807, 813 (7th Cir. 2000) (“During

sentencing, the Government must prove the facts underlying the base offense or an enhancement

by a preponderance of the evidence.”). The Government has not provided any evidence that Mr.


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Harcevic had any intent other than to support paramilitary forces in their defense of the civilian

population of Syria against unlawful attack by forces that were no longer recognized as

legitimate by the United States.

           a. The Government’s assertions that Mr. Harcevic’s conduct was calculated to
              influence or affect the conduct of the Turkish, Syrian, Iraqi and American
              governments are unsubstantiated and based entirely on private conversations Mr.
              Harcevic was not party to.
   The Government similarly relies on extensive private Facebook conversations between

Pazara and “Person E”, that Mr. Harcevic was not party to and was unaware of, to assert that Mr.

Harcevic’s offenses were calculated to influence or affect the conduct of the Syrian government,

the Turkish government, the Iraqi government and the American government. (Doc. 568, p. 20).

The Government does not provide any explanation for how they attempt to hold Mr. Harcevic

responsible for such ambitious conduct and as such no weight should be given to this assertion.

Mr. Harcevic cannot be held responsible for private conversations he was not a party to. The

lengthy private conversations between Pazara and Person E (Gov. Exhibit 9) indeed provide

extensive insight on Pazara’s state of mind, but these were private messages Mr. Harcevic had no

knowledge of, nor does the Government allege that he had any knowledge of such conversations.

In fact, none of these private conversations is ever alleged by the Government to have been

known to Mr. Harcevic. This is significant considering Mr. Harcevic’s phone calls, text

messages, emails and Facebook communications were all recorded or collected. Here, too, the

Government fails to establish by a preponderance of the evidence that the terrorism enhancement

should apply because none of the evidence provided can reflect upon Mr. Harcevic’s knowledge

or intent. They must prove that Mr. Harcevic had the specific intent to influence or affect these

governments but have failed to show any evidence of Mr. Harcevic’s intent specifically. Mr.

Harcevic is a generous and compassionate man and has a significant and demonstrated history of

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making charitable donations, especially for relief efforts. In September of 2013 the world was

not sure who ISIS was yet, they were instead being flooded with news reports about chemical

weapons attacks on Syrian civilians by Bashar Al-Assad1, Barack Obama wanted to intervene

against Bashar Al-Assad on the behalf of the Syrian people2, the UN had just declared that sarin

gas had been used in a war crime against Syrian civilians3 and there were constant stories in the

news about the humanitarian crisis in Syria4. These constant stories and the reporting of the

situation in Syria in August and September of 2013 give the best impression of what Mr.

Harcevic’s state of mind and intent may have been at the time he donated the $1,500 to help

Syrian civilians.

    II.      The Government mischaracterizes Mr. Harcevic and Hodzic’s May 16th, 2014
             conversation about the severe Bosnian flooding disaster and offers no evidence of a
             $500 transaction
    The Government alleges that based on a conversation between Mr. Harcevic and Hodzic on

May 16th, 2014, that Hodzic transferred money to Pazara “which included the $500 Hodzic

received from Defendant Harcevic” (Doc. 568, p. 24). The Government does not provide any



1
 “Obama asks for approval to hit Syria” CNN Breaking News. August 31st, 2013. Available at:
https://web.archive.org/web/20130901023912/http:/www.cnn.com/

2
 Shoichet, Catherine E. “Strike against Syria? Obama backs it, but wants Congress to vote”. CNN Online. August
31st, 2013.Available at:
https://web.archive.org/web/20130901062229/http://www.cnn.com/2013/08/31/world/meast/syria-civil-
war/index.html?hpt=hp_inthenews

3
 Levs, Josh. “War Crime: U.N. finds sarin used in Syria chemical weapons attack” CNN Politics. September 16th,
2013. Available at:
https://web.archive.org/web/20130917114459/http://www.cnn.com/2013/09/16/politics/syria-civil-
war/index.html?hpt=hp_inthenews

4
 Bradley, Megan. “Humanitarian crisis spilling from Syria”. September 11th, 2013. Available at:
https://web.archive.org/web/20130915065432/http:/www.cnn.com/2013/09/11/opinion/bradely-syria-
refugees/index.html?iid=article_sidebar




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evidence of such a transaction between Harcevic and Hodzic or that any such money was to be

used for Pazara. What the Government supplies as evidence of this is a conversation where Mr.

Harcevic and Hodzic are actually discussing the extreme flooding that occurred in Bosnia on that

same day which left many homes without electricity, forced many to evacuate and stranded

many cities and villages. The Bosnian government requested international assistance for this

disaster5. What the Government omits from its citation of this conversation is that Mr. Harcevic,

the extremely charitable and generous donor to relief efforts, begins this conversation asking

Hodzic about his family in Bosnia: “How is your family over there in Bosnia? Is there anything

by your family regarding this flooding?” (Gov. Exhibit 12, Trans 01096). Hodzic responds,

“Well, there is. Every is (UI) flooded…we are a kilometer away from the water, you know, and

there is a little hill. My [family] is well but the rest [of people] around are not…”. They discuss

praying for those suffering from the severe flooding in Bosnia. Mr. Harcevic then states,

“Brothers should now, you know, step in regarding assistance, you know, a little of da’wah

[Islamic missionary activities] and this- the brothers over there should be now helped a little with

money if needed, you know, to go outside, to bring water, to bring bread—“. Hodzic replies that

he tried sending water and bread and that, “the ones by me over there transport it to Maglaj…”.

Maglaj is a town in Bosnia. Hodzic then says that the people there were well-off and donated

30,000 loaves of bread from a bakery but that there were many people in need in villages like

Zepce and Maglaj. (Gov. Exhibit 12, Trans 01097). Hodzic says he will try to collect money and

“send it to the brothers so that they can buy it and go distribute water, let—let them buy food for

children…” (emphasis added). Mr. Harcevic encourages this and Hodzic tells him, “If I am



5
 “16 May 2014: Serbia, Bosnia and Herzegovina—Severe weather/Floods”. Relief Web Press Release. May 16th,
2014. Available at: https://reliefweb.int/map/serbia/16-may-2014-serbia-bosnia-and-herzegovina-
severe-weatherfloods
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tomorrow, you know, I have to send this to brothers tomorrow, God willing, and then I’ll see, uh,

that around Wednesday, Thursday or on Friday, uh, if I can send them something, but tomorrow

I have to [send it] to the brothers, you know, the brothers called – they need it.” (emphasis

added). It is at this point the Government asserts that Hodzic and Mr. Harcevic are now talking

about Pazara and fighters in Syria instead of the Bosnian flooding they were actually discussing

which happened on the same day of the conversation. Mr. Harcevic is told about a wounded

brother whose mother wishes to visit him and Mr. Harcevic says to send money for him. There is

no evidence, the Government does not provide any, that Mr. Harcevic ever subsequently sends

this alleged $500 to Hodzic. The PSR was correct to omit this alleged donation as well. The

Government’s intentional omission of the subject of the conversation relating to the Bosnian

flooding disaster and occurring on the date of the same disaster is misleading and

mischaracterizes this conversation between Mr. Harcevic and Mr. Hodzic. The term “brothers” is

used to refer to men of the Muslim faith. They are clearly discussing “brothers” in Bosnia at the

beginning of this in this conversation and accordingly it cannot be attributed to Mr. Harcevic that

he would know that his donation would be used to support Pazara in combatant activities as

opposed to support relief efforts in Bosnia, or at worst, supporting a mother to visit her son,

neither of which would be terrorist activities. Given the ambiguity of the conversation and the

absence of any proof of a further transfer the PSR was right to omit this as a subsequent

transaction.

   III.    The Government’s attempt to include an unconnected and irrelevant $800 transfer by
           Mr. Harcevic to an individual in Turkey, who was never connected to this case or
           investigation, is overzealous and unsubstantiated and was properly discarded by the
           Probation Office in their revised Final PSR.
   Beyond the $1,500 contributed by Armin Harcevic to Hodzic on September 24th, 2013, (PSR,

para. 31, 39) that formed the basis for his plea before this court, the Government asserts in its

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Sentencing Memorandum that Mr. Harcevic continued to contribute funds to Hodzic, and

thereby to Pazara, to support his combatant activities in Syria through May of 2014 and that

these funds totaled at least an additional $500. The Government relies on these assertions to

argue against Mr. Harcevic’s eligibility for a minor role in the offense sentencing reduction and

to expand their basis from the effected governmental interest from the Assad regime to include

the United States and Turkey. Mr. Harcevic denies that he gave additional monies to Hodzic or

Pazara to further Pazara’s combatant activities. The initial presentence investigation report (PSR)

did not include any of these alleged contributions in its list of transactions related to the

conspiracy. In the Final Presentence Report an $800 transaction from Mr. Harcevic was listed as

being made both to Hodzic and to “Turkey”. Upon defense counsel’s request for the evidence

relied on to support such a transaction, the Probation Office ultimately removed this transaction

from its list of transactions related to the conspiracy. In its revised Final Presentence Report from

July 31st, 2019, the $800 transaction is only mentioned later as a transfer that Mr. Harcevic sent

to Turkey. The Probation Office’s correction in their revised Final PSR clarifies that Mr.

Harcevic only ever made one donation to Hodzic, the $1,500 on September 24th, 2013.



The note in the PSR that Mr. Harcevic gave additional money to Turkey during the conspiracy is

based on a Western Union transfer of $800 by Mr. Harcevic to Mehmet Isaoglu on December 4th,

2013, in Gaziantep, Turkey. (PSR para. 39). While the Final PSR states that the recipient of the

transfer is unknown, the Western Union wire transfer records produced by the Government

provide the name of the recipient as Mehmet Isaoglu (See Western Union Transfer). The

Government’s vague reference to Mr. Harcevic contributing, “at least $2,000” (Doc. 568, p. 16),

is an oblique acknowledgement that there is absolutely no evidence to support that this transfer



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was in support of Pazara apart from the location of the recipient in Gaziantep. A critical omission

made by the Government and the PSR is that the name of Mehmet Isaoglu and his listed address

and phone number is not among any of the third party intermediary’s names, contact numbers or

addresses in Turkey identified by the investigating agents as associated with Ramiz Hodzic’s to

Pazara and his comrades. (See Search Warrant, STL 00004216). Further, unlike the $1,500

transfer, there are no emails or Facebook messages between Hodzic and Pazara, or anyone else

discussing Mr. Harcevic’s $800 transfer to an independent individual in Turkey.



          The only connection between the transfer on December 4th, 2013, and transfers to Pazara

is that Hodzic also mailed supplies to addresses in Gaziantep prior to and after December, 2013,

but that is insufficient to establish the transfer was more likely than not for the benefit of Pazara

and his comrades. Gaziantep is located in the western part of Turkey’s Southeastern Anatolia

region near the Syrian border and about 60 miles north of Aleppo, Syria with a population of

approximately 1.3 million people in 2012, growing to almost 2 million in 2015. The growth was

caused by the influx of refugees from the Syrian civil war into the city. Gaziantep has the highest

concentration of refugees and provides humanitarian relief to around 440,000 Syrian refugees,

accounting for 21% of the city’s population.6. In September and December of 2013, relief

organizations all over America from Doctors Without Borders to Catholic Relief Services and

Mercy were collecting donations to send support to Syrian refugees on the ground.7 CNN and




6
    Syrian Refugees Recovery & Empowerment. A Brief History. 2019.
https://www.syrianrefugeeconference.com/call-of-abstract/
7
    “How to help Syrian Refugees”. CNN Online. September, 2013.
https://web.archive.org/web/20130920011959/http://www.cnn.com/2013/09/06/world/iyw-how-
to-help-syrian-refugees/index.html?iid=article_sidebar
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other mainstream media outlets published information to donate to various charities supporting

Syrian refugees. 8

 The number of Americans who sent money, in one form or another, to Gaziantep, Turkey, is

countless. The Government has no basis for alleging Mr. Harcevic made more than one donation

to Hodzic and it deliberately excludes the evidence of the Western Union transfer from its

Sentencing Memorandum because that transfer makes it perfectly clear that the person Mr.

Harcevic donated money to in December, 2013, was not one of the Turkish intermediaries

Hodzic or Pazara ever used.




          IV.    Co-defendant Mediha Salkicevic was significantly more culpable than Mr. Harcevic

                 and was sentenced to 78 months with five years of supervised released.

          The Final PSR, in both its original and revised forms, acknowledges and recommends that

Mr. Harcevic receive a reduced adjustment for his minor role in the offence as he “was a minor

participant in any criminal activity.” Mr. Harcevic was noted to be one of the least culpable

defendants along with Jasminka Ramic. Jasminka Ramic was sentenced to 36 months and 3

years of supervised released. Mediha Salkicevic, considered a more culpable defendant by

Probation Services in their PSR, was sentenced to 78 months and 5 years of supervised released.

In fashioning an appropriate sentence, judges are directed by statute to consider the need to avoid

unwarranted sentencing disparities among defendants with similar records who have been found

guilty of similar conduct. 18 U.S.C.S. § 3553(a)(6). Here the Court has sentenced a co-defendant

with similar to Mr. Harcevic and one with more serious conduct. In the interests of justice, his




8
    Id.

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sentence should not exceed that of Mediha Salkicevic and should instead, more closely align

with Jasminka Ramic’s sentence or less.

Respectfully submitted,

s/ Charles D. Swift
Charles D. Swift, Pro Hac Attorney for the Defendant, Armin Harcevic


s/ Catherine McDonald
Catherine McDonald, Pro Hac Attorney for the Defendant, Armin Harcevic


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                                CERTIFICATE OF SERVICE
 I HEREBY CERTIFY that on this August 2nd, 2019, I electronically filed the foregoing with the
  Clerk of the Court using the CM/ECF system which will send a notice of electronic filing to all
                                      counsel of record.


/s/ Charles D. Swift
Chares D. Swift
Pro Hac for Armin Harcevic




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